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IN THE UNITED sTATEs DISTRICT COURT
FoR THE WESTERN DISTRICT oF TENNESSEE ,<;‘/<i%<g;.
EASTERN DlvlsloN 115qu

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UNITED STATES OF AMERICA, ) d<, Jl/_ d
) /U‘ C/“
Plaintiff, ) ‘“4/
) CR. NO. 05-10010-T/AN
)
vs. )
)
)
TED CARROLL, )
)
Defendant. )

 

MOTION FOR ENLARGEMENT OF TIME IN W?&IH TO FILE MOTIONS

 

     
   
  
  

Comes now Donald W. Schwendimann, co el for Ted Carroll, and respectfully

moves the CouIt for an enlargement of time ' which to file motions in the above-

captioned case.

Defendant Ted Carroll was `gned on the afternoon of April 4, 2005, and

result

pr aration of upcoming hearings and trials, Defendant’s counsel has found it impossible
to prepare appropriate motions for this case. __-?__~; §§ m §§
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WHEREFORE, premises considered, counsel respectfully moves the Court to

enlarge the time in Which he may file motions for an additional thirty (30) days.

Respectfully submitted,

Schwendimann & Associates

 
   

» ’ _ /%z%/
Donald W. Schwendimann l
Attomey for Defendant

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******************************#******#************#*********************

Certificate of Service

I, the undersigned, do hereby certify that I have mailed a true and exact copy of
the foregoing Motion to Honorable James W. PoWell, Assistant U.S. Attorney, 109 South
Highiand, Jackson, TN 38301, by depositing said copy in the U.S. Mail, postage prepaid,
and via facsimile to him at (731) 422»6668, this 4th day of May, 2005.

/£@M[ ~er%n/SMMMM

Donald W. Schwendimann

 

DISTRIC COURT -WE TER D"'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
case 1:05-CR-100]0 Was distributed by faX, mail, or direct printing on
May 9, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

